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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


Ricardo Onoroto,                                         Civil Action No. 18-cv-01923-JRB

                  Plaintiffs,                                The Honorable John R. Blakey
v.

State Collection Service, Inc.,

                  Defendant.


                                JOINT INITIAL STATUS REPORT

     1.        Service

All parties have been served.

     2.        Nature of the Case

          A.      Attorneys of Record:

                  Plaintiff
                  Celetha Chatman
                  Michael Wood (Lead Trial Attorney)
                  Sarah Barnes
                  Community Lawyers Group Ltd.
                  73 W. Monroe Street, Suite 514
                  Chicago, IL 60603

                  Defendant
                  Patrick D. Newman (Lead Trial Attorney; member of the trial bar)
                  Bassford Remele, PA
                  100 South Fifth Street, Suite 1500
                  Minneapolis, MN 55402
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 B.         This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA and 28
            U.S.C. § 1331.

            Defendant denies that the Court has jurisdiction because plaintiff lacks a
            concrete injury-in-fact.

 C.         Claims Asserted in Complaint and Defenses

       i.          Plaintiff claims SCS failed to communicate a dispute to the
                   TransUnion credit reporting agency, in violation of 15 U.S.C. §
                   1692e(8), when it knew or should have known about the dispute and
                   communicated other information regarding the alleged debt to
                   TransUnion.

      ii.          Defendant denies that Plaintiff, or his counsel, properly disputed any
                   debt with Defendant. Defendant further alleges that Plaintiff, and/or
                   his counsel, intentionally faxed a vague and ambiguously-worded
                   letter to Defendant in an effort to set up this litigation. Accordingly,
                   to the extent that Plaintiff has a cognizable claim under the
                   FDCPA—which is denied—he is entitled to a maximum of $1,000
                   pursuant to 15 U.S.C. § 1692k(a)(2)(A); Plaintiff should not be
                   awarded any attorneys’ fees in this matter.

                   Defendant further alleges the bona fide error defense and lack of
                   standing.

 D.         Major Legal and Factual Issues

       i.          For Plaintiff: Whether Plaintiff is a consumer; whether Defendant is
                   a debt collector as defined by the FDCPA; whether the
                   communications made by Defendant violated the FDCPA; and
                   validity of Defendants’ affirmative defenses.

      ii.          For Defendant: Whether the letter attached to Plaintiff’s Complaint
                   as Exhibit C contains a valid “dispute” pursuant to 15 U.S.C. §
                   1692c(c) and § 1692e(8).

                   Whether the amount of time Plaintiff alleges Defendant had to act
                   was a reasonable amount of time.

                   Whether Plaintiff can demonstrate that his credit score was
                   “materially lowered” as a result of Defendant’s alleged actions, or
                   that he suffered any damages at all.


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                       Whether Plaintiff has Article III standing.

                       Whether Defendant’s alleged failure to mark Plaintiff’s outstanding
                       obligation as disputed resulted from a bona fide error.

                       Whether Plaintiff, and his counsel, brought this case in bad faith and
                       for purposes of harassment.          See 15 U.S.C. § 1692k(a)(3).
                       Defendant alleges that the letter appears in similar form to the letter
                       at issue in Tejero v. Portfolio Recovery Associates LLC et al, No.
                       AU-16-cv-767-SS, 2018 WL 1612856 (W.D. Tex. Apr. 2, 2018), in
                       which the court sanctioned Plaintiff’s counsel for bringing a FDCPA
                       “lawsuit in bad faith and for harassment purposes,” by engaging “in
                       a scheme to force settlements from debt collectors by abusing the
                       FDCPA.” Id. at *3. In short, Defendant alleges Plaintiff’s counsel
                       here, as in Tejero, intentionally obfuscated the alleged “dispute” in a
                       scheme designed to set up this action in contravention of the
                       Congressional purpose underlying the FDCPA, as well as §
                       1692k(a)(3) (prohibiting the filing of FDCPA actions “in bad faith
                       and for the purpose harassment”). As such, even in the event
                       Defendant were liable to Plaintiff for his alleged claims—which is
                       denied—Plaintiff’s counsel should not be awarded any attorneys’
                       fees allegedly incurred in furtherance of this scheme under any
                       circumstances, and should instead be required to pay Defendant’s
                       fees incurred in defending this action.

     E.          Damages Sought

            i.         For Plaintiff: Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                       Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2); Costs and
                       reasonable attorney fees pursuant to 15 U.S.C. § 1692k(a)(3); Such
                       other or further relief as the Court deems proper.

           ii.         For Defendant: Defendant seeks its reasonable attorneys’ fees and
                       costs incurred in defending this action pursuant to 15 U.S.C. §
                       1692k(a)(3).

3.        Pending Motions and Case Plan

     A.          No motions are pending.

     B.          Case Plan



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       i.   Mandatory Initial Discovery Pilot Project

               a.     All parties have read the Standing Order regarding the
                      mandatory initial discovery pilot project and plan to comply
                      with the initial discovery responses;

               b.     The parties have not yet had any discussions regarding
                      mandatory initial discovery responses. Plaintiff will serve
                      MIDP responses on May 12, 2018. Defendant intends to serve
                      its initial discovery responses on or before May 12, 2018.



      ii.   Proposed Discovery Plan:

               a.     Fact Discovery will be needed, including interrogatories,
                      requests for production, and requests for admission;

               b.     The parties will make their Rule 26(a)(1) disclosures in
                      conjunction with their MIDP initial discovery responses;

               c.     Fact Discovery will open May 15, 2018 and close on October
                      15, 2018;

               d.     The Parties anticipate the need for a confidentiality order in
                      this matter regarding Defendant’s internal compliance
                      policies and procedures and credit reporting policies and
                      procedures;

               e.     The Parties do not anticipate the need for any HIPAA waivers
                      in this matter;

               f.     The parties will need approximately 2-3 depositions;

               g.     Plaintiff does not anticipate the need for expert discovery.
                      Defendant does not anticipate the need for expert discovery.
                      To the extent expert necessary is required, experts will be
                      disclosed by August 15, 2018, and expert discovery will close
                      on November 15, 2018;

               h.     Dispositive Motions must be filed by December 15, 2018;

               i.     The case should be set for trial on March 4, 2019;


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                      j.     Plaintiff demands a jury trial, which the Parties anticipate will
                             last 1-2 days.

   4.        Consent to Proceed before Magistrate Judge

The Parties do not unanimously consent to proceed before a Magistrate Judge on all
matters at this time

   5.        Settlement

        A.      Plaintiff has made a demand at this time. Defendant served a Rule 68 Offer
                of Judgment upon Plaintiff, through his counsel, on April 11, 2018.

        B.      The Parties do not believe a settlement conference would be productive at
                this time.


                                           BASSFORD REMELE
                                           A Professional Association


Dated: April 23, 2018                      By: s/ Patrick D. Newman
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                                                 Minneapolis, Minnesota 55402-1254
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                                                 Attorneys for State Collection Service,
                                                 Inc.




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                                      CERTIFICATE OF SERVICE

         I, Celetha Chatman, an attorney, hereby certify that on April 23, 2018, I electronically

 filed the foregoing document using the CM/ECF system, which will send notification of such

 filing to all attorneys of record.


Dated: April 23, 2018                                                      Respectfully submitted,


                                                                     By:     /s/ Celetha Chatman




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